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                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO


SKYTEC, INC.,
                                                         No. 3:15-CV-02104-BJM
                   Plaintiff-Counterdefendant,
         v.
                                                         The Honorable Bruce J. McGiverin
LOGISTIC SYSTEMS, INC.,

                 Defendant-Counterclaimant.


                           DEFENDANT’S MOTION TO RESTRICT

TO THE HONORABLE COURT:

         COMES NOW Defendant-Counterclaimant Logistic Systems, Inc. (“LogiSYS”), by and

through its undersigned counsel, and hereby respectfully request as follows:

         1.    On this same date, LogiSYS is filing Defendant’s Motion Regarding its Proof of

Damages and for Prevailing Party Attorney and Expert Fees and Expenses.

         2.    The request contained in LogiSYS’s motion is supported by declarations of Mr.

Charlie Stortz, Sam Bull, Esq., and Carlos A. Rodríguez Vidal, Esq. The Exhibits to the Declarations

of Mr. Bull and Mr. Rodríguez Vidal include invoices of the law firms of Foster Pepper and Goldman

Antonetti & Córdova, LLC with detailed accounts of all of the work performed by the attorneys and

paralegals at those law firms on behalf of LogiSYS in this case and the rates at which they performed

such work. Perforce, such information, and the level of detail contained in them, is confidential, is

covered by attorney/client and work product privileges and should not be disclosed to the public at

large.

         3.    This motion requests that the Court allow LogiSYS to restrict access to Exhibit A to

the Declarations of Sam Bull, Esq. and Carlos A. Rodríguez Vidal, Esq. to the parties in this litigation
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and Court personnel. The information has been produced for examination by Alexis Fuentes, Esq.,

bankruptcy counsel for Skytec. No prejudice to the parties will be caused by allowing such restriction.

       WHEREFORE, it is respectfully requested from this Honorable Court that it allow the

filing of Exhibit A to the Samuel Bull, Esq. Declaration and the Carlos A. Rodríguez Vidal

Declaration in the Selected Parties restriction level.

       RESPECTFULLY SUBMITTED this 10th day of December, 2018.


                                                     s/ Carlos A. Rodríguez-Vidal________         ___
                                                     Carlos A. Rodríguez-Vidal
                                                     USDC PR 201213
                                                     Counsel for Logistic Systems, Inc.
                                                     Goldman Antonetti & Cordova, LLC
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                                                     s/ Samuel T. Bull
                                                     s/ Lauren J. King
                                                     s/ Kelly Mennemeier
                                                     Samuel T. Bull
                                                     Washington State Bar No.: 34387
                                                     Lauren King
                                                     Washington State Bar No.: 40939
                                                     Kelly Mennemeier
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                                  CERTIFICATE OF SERVICE

       The undersigned hereby certify that on December 10, 2018 the foregoing document was

electronically filed with the Clerk of the Court using the CM/ECF System which will send

notification of such filing to all counsel of record.

       Dated this 10th day of December, 2018 in San Juan, Puerto Rico.


                                                        s/ Carlos A. Rodríguez-Vidal_____
                                                        Carlos A. Rodríguez-Vidal
                                                        USDC PR 201213
                                                        Counsel for Logistic Systems, Inc.
                                                        Goldman Antonetti & Cordova, LLC
                                                        Post Office Box 70364
                                                        San Juan, PR 00936-8364
                                                        Crodriguez-vidal@gaclaw.com

                                                        s/ Samuel T. Bull___
                                                        s/ Lauren J. King
                                                        s/ Kelly Mennemeier
                                                        Sam T. Bull
                                                        Washington State Bar No.: 34387
                                                        Lauren King
                                                        Washington State Bar No.: 40939
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